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22010 Westheimer Parkway   Business closed. Ch 7             82      1490505



Katy         TX 77450                                        8/18         10/22
                            Padgett Business Services



                                                             47      5600803
  5922 Euclid Loop



  Rosenberg, TX 77469                                         2015        present
                                Hudson Accounting Services
                             Case 22-33462 Document 5 Filed in TXSB on 11/21/22 Page 12 of 12

Debtor 1            Timothy             Luke                  George                                        Case number (if known) _________
                    First Name          Middle Name           Last Name

                                                Date issued


     Department of the Treasury
    Name                                       MM/DD/YYYY

     PO Box 830794
    Number       Street




     Birmingham, AL 35283-0794
    City                   State   ZIP Code




■@•fj         Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




           7YlnOT:J-t71 <;;Jc�
    x ______
           Signature of Timothy Luke George, Debtor 1

           Date 11/15/2022



  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy(Ofticial Form 107)?
    No

    □ Yes
  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    lill No
    □ Yes. Name of person----------------------                                                     Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                    Declaration, and Signature (Official Form 119).




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 12
